                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: ABBOTT LABORATORIES, ET                        MDL No. 3026
 AL., PRETERM INFANT NUTRITION
 PRODUCTS LIABILITY LITIGATION                         Master Docket No. 22 C 71

                                                       Judge Rebecca R. Pallmeyer
 This Document Relates to:

 ALL ACTIONS


       PROPOSED AGENDA FOR OCTOBER 11, 2022 STATUS CONFERENCE
      AND PLAINTIFFS’ REQUEST TO CONDUCT CONFERENCE REMOTELY

       The Parties have conferred and jointly propose the following agenda for October 11, 2022

Status Conference:

   1. Bellwether Selection Process & Plaintiff Profile Forms/Medical Record Authorizations

   2. Status of ESI Protocol

       In addition, Plaintiffs respectfully request to conduct the Status Conference remotely.

Defendants do not oppose this request.



Dated: October 7, 2022               Respectfully submitted,



 By: /s/ Timothy J. Becker                        By: /s/ Stephanie E. Parker__
 Timothy J. Becker                                Stephanie E. Parker
 JOHNSON BECKER, PLLC                             JONES DAY
 444 Cedar Street                                 1221 Peachtree Street NE
 Suite 1800                                       Suite 400
 St. Paul, MN 55101                               Atlanta, GA 30361
 Telephone: (612) 436-1800                        404.581.8552
 tbecker@johnsonbecker.com                        404.581.8330 (fax)
 CO-LEAD COUNSEL                                  Email: separker@jonesday.com
By: /s/ C. Andrew Childers                Meir Feder
C. Andrew Childers                        JONES DAY
LEVIN, PAPANTONIO, RAFFERTY,              250 Vesey Street, Floor 34
PROCTOR, BUCHANAN, O’BRIEN, BARR          New York, NY 10281
& MOUGEY, P.A.                            212.326.7870
316 S. Baylen Street, Sixth Floor         212.755.7306 (fax)
Pensacola, FL 32502                       Email mfeder@jonesday.com
Telephone: (850) 435-7000
achilders@levinlaw.com                    Bridget K. O‘Connor
CO-LEAD COUNSEL                           JONES DAY
                                          51 Louisiana Avenue NW
By: /s/ Wendy R. Fleishman                Washington, DC 20001
Wendy R. Fleishman                        202.879.3869
LIEFF, CABRASER, HEIMANN &                202.626.1700 (fax)
BERNSTEIN, LLP                            Email: boconnor@jonesday.com
250 Hudson Street, 8th Floor
New York, NY 10013-1413                   Attorneys for Defendants Abbott Laboratories
Telephone: (212) 355-9500                 and Abbott Laboratories, Inc.
wfleishman@lchb.com
CO-LEAD COUNSEL                           - and -

By: /s/ Jose M. Rojas                     By: /s/ Rachel M. Cannon
Jose M. Rojas                             Anthony J. Anscombe
LEVIN, ROJAS, CAMASSAR & RECK,            Rachel M. Cannon
LLC                                       Darlene K. Alt
40 Russ Street                            William R. Andrichik
Hartford, Connecticut 06106               STEPTOE & JOHNSON LLP
Telephone: (860) 232-3476                 227 West Monroe, Suite 4700
rojas@ctlawyer.net                        Chicago, IL 60606
CO-LEAD COUNSEL                           312.577.1270
                                          (312) 577-1370 (fax)
By: /s/ Diandra “Fu” Debrosse Zimmerman   Email: aanscombe@steptoe.com
Diandra “Fu” Debrosse Zimmermann          Email: rcannon@steptoe.com
DICELLO LEVITT GUTZLER LLC                Email: dalt@steptoe.com
420 20th Street North, Suite 2525         Email: wandrichik@steptoe.com
Birmingham, Alabama 35203
Phone: 205-855-5700                       Attorneys for Defendants Mead Johnson, LLC
fu@dicellolevitt.com                      and Mead Johnson Nutrition Company
CO-LEAD COUNSEL
By: /s/ Elizabeth A. Kaveny
Elizabeth A. Kaveny, Esq.
KAVENY + KROLL, LLC
130 E. Randolph Street, Suite 2800
Chicago, Illinois 60601
Phone: 312-761-5585
elizabeth@kavenykroll.com
PLAINTIFFS’ LIAISON COUNSEL
